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EXHIBIT 3
Case 3:17-cv-00072-NKM-JCH Document 272-4 Filed 03/14/18 Page 2of5 Pageid#: 1869

 

 

From: Christopher Greene

To: hoppe.ecf@vawd.uscourts.gov; KarenD@vawd.uscourts.gov

Cc: David Campbell; isuecrooks@comcastnet; James Kolenich; j ; Mike Peinovich; Roberta
Kaplan; Julie Fink; Gabrielle Tenzer; Levine, Alan; Karen Dunn; Philip Bowman

Subject: Sines v. Kessler - Case No. 17 Civ. 72

Date: Friday, March 2, 2018 4:01:18 PM

Attachments: Exhibit A.pdf
Exhibit B pdf

 

Dear Judge Hoppe,

Plaintiffs in the above-captioned matter write concerning a pressing discovery issue that has recently
arisen. For the reasons set forth below, Plaintiffs respectfully request that the Court: (1) deny
Defendant Michael Peinovich’s motion to stay discovery, ECF No. 224; and (2) order Defendants to
(a) respond to Plaintiffs’ discovery requests by a date certain (with the exception of Defendant James
Alex Fields — see below); and (b) preserve information relating to this action and confirm in writing
that they are in compliance with their obligation to do so. Plaintiffs also respectfully request that, to
ensure that Defendants are complying with their preservation obligation going forward, the Court
order Defendants to immediately: (1) take all necessary steps to have any of Defendants’
computers, mobile devices, and other electronic devices and data, including webmail, social media,
and cloud storage accounts, that may contain information relating to this action imaged by a third
party vendor agreed upon by Plaintiffs; and (2) stop the deletion of and immediately recover any
social media accounts or data containing information relating to this action that Defendants have
deleted or attempted to delete. Plaintiffs understand that certain social media platforms permit
users to reverse account deletion if the request is made by the user within days of the initial
deletion.

This week, Defendants Michael Peinovich and David Parrott have each made public, on-line
statements stating either that they may have deleted relevant information relating to this case that
has been requested in discovery, that they intend to do whatever is necessary to prevent disclosure,
or that others should take similar or related actions. Evidence of those statements is attached. In
Exhibit A (found on Gab, a Twitter-like social media site), Defendant Peinovich states, among other
things, that he had begun the process of deleting his Facebook account (although he later
“resurrected” it), would “do whatever [he] can to not have to produce” materials from his Facebook
account, and “do[es] not expect to ever turn over this info.” In Exhibit B (found on Twitter),
Defendant Parrott encourages others “involved in any altercation in Cville” to disable their social
media. In addition, with the exception of Defendant Fields (who has filed his own motion to stay
discovery, ECF No. 233), Defendants have failed to timely respond or object to Plaintiffs’ January 25,
2018 discovery requests. Plaintiffs therefore have serious concerns about the loss or deletion of
information relating to this case, as previously expressed in Plaintiffs’ opposition to Defendant
Peinovich’s motion to stay discovery. See ECF No. 240 at 7.

Plaintiffs are submitting this email based on the understanding from Your Honor’s courtroom
deputy, Ms. Karen Dotson, that the Court prefers to address discovery disputes without the filing of

formal motions. We defer to the Court’s direction on how best to proceed.

Respectfully submitted,
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Christopher B. Greene
Kaplan & Company, LLP
(929) 294-2528
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Microchip @Microchip PRO
.@ aday

what's this all about?

-» Michael E Peinovich » The TRS Stuff eee
3 hrs -

OK, full disclosure. Yesterday | was zucced and then |
shoahed my other FB because part of the document
request made by the attorneys was for all my social
media friends and any identifying info | may know
about them. This is a document request served on
ME, not on FB. | currently have a motion to stay this
request pending my motion to dismiss the entire case.
If that motion is not granted, or if this case moves to
trial, | will then file an objection to the document
requests themselves for being too broad. There is no
reason they need my FB friends list going back to
2015 for their case. | began the process of deleting
my FB acct but a guy told me this was a very bad idea,
so | resurrected it. It's still on Zucc for 6 days so I'll
use this one. | would not worry too much about it
though. They won't get the info and | will do whatever
| can to not have to produce it. | do not expect to ever
turn over this info, but if they saw that | deleted the
account, this would give them an argument and
possibly lead them to subpoena facebook itself. So
there. | figure | may as well be open about this, no
reason to lie.

As # Reply 2 §§ Quote G Repost 1
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Boonie Hat ( *
, Follow j ™“
@don_chump me ee

@kaplanrobbie @IntegrityforUSA Whatever
you do, don't look at this.

David M Parrott
lhr:+@

General! Note:

If you were involved in any altercation in Cville, and you haven't disabled
your social media, you should do so.

| know it's a bit late for some folks, obviously. But just in case there's
anybody out there reading this who's out there who hasn't taken that step,
do so.

It doesn't matter if you actually did anything. Everybody's getting a ride
even if it's totally obvious that they're not convictable.

gd) Like (J) Comment > Share
0213

Alex McNabb Heh heh heh.

Like - Reply - 1 hr
S Justin Murphy II They pick up someone else?
. Like - Reply « 1 hr

David M Parrott No one specifically. But that's a direction they're
going with it.
Like - Reply -@ 1-1 hr

Justin Murphy II Lovely. Stay safe fam
Like - Reply 1 hr

11:35 AM - 27 Feb 2018

QO tT VY
